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 1                                                                              FILED IN THE
                                                                            U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT OF WASHINGTON
 2
 3                                                                     Apr 15, 2019
                          UNITED STATES DISTRICT COURT                     SEAN F. MCAVOY, CLERK
 4
                         EASTERN DISTRICT OF WASHINGTON
 5
 6
     UNITED STATES OF AMERICA,                         No. 2:19-CR-00049-RMP-1
 7
 8                       Plaintiff,                    ORDER FOLLOWING DETENTION
                                                       REVIEW HEARING
 9                       v.
10                                                     MOTION GRANTED
     JAYDIN LEDFORD,                                     (ECF No. 27)
11
12                       Defendant.
13
           At Defendant’s April 15, 2019, detention review hearing, Defendant was
14
     present, in custody, with Federal Defender Andrea K. George. Assistant U.S.
15
     Attorney Patrick Cashman appeared for the United States.
16
           The Court has reviewed Defendant’s Motion for Release from Custody,
17
     ECF No. 27, United States’ Response to Motion, ECF No. 29, the Pretrial
18
     Services Report, ECF No. 5, and the argument of counsel.
19
           The United States opposed release of Defendant, arguing that his threats to
20
     shoot and kill specific law enforcement personnel and other public figures,
21
     combined with his resistance to mental health treatment, pose a significant danger
22
     to the community.
23
           Defendant argued that he has no prior criminal history, would live with his
24
     mother who is informed regarding his mental illness, that he has not possessed and
25
     will not have access to firearms, will undergo mental health treatment and permit
26
     United States Probation to discuss his progress with the treatment provider, and
27
     that his treatment will be coordinated and monitored by the MSW social worker
28



     ORDER - 1
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 1   employed in the office of the Federal Defender representing him.
 2         Pursuant to 18 U.S.C. § 3142 the Court finds the United States has not
 3   established by the required preponderance of evidence an absence of conditions or
 4   combination of conditions that would reasonably assure this Defendant's presence
 5   at trial and has not established by clear and convincing evidence that Defendant
 6   poses a present risk to the safety of other persons or the community.
 7         IT IS ORDERED Defendant’s motion, ECF No. 27, is GRANTED.
 8   Defendant shall be released subject to the following conditions:
 9
10                        STANDARD CONDITIONS OF RELEASE

11   (1)   Defendant shall not commit any offense in violation of federal, state or local
12         law. Defendant shall advise the supervising Pretrial Services Officer and
           defense counsel within one business day of any charge, arrest, or contact
13         with law enforcement. Defendant shall not work for the United States
14         government or any federal or state law enforcement agency, unless
           Defendant first notifies the supervising Pretrial Services Officer in the
15
           captioned matter.
16
17   (2)   Defendant shall immediately advise the court, defense counsel and the U.S.
           Attorney in writing before any change in address and telephone number.
18
19   (3)   Defendant shall appear at all proceedings as required and shall surrender for
           service of any sentence imposed as directed.
20
21   (4)   Defendant shall sign and complete A.O. Form 199C before being released,
           and shall reside at the address furnished, and shall not change his address
22
           without prior permission from the Court.
23
24   (5)   Defendant shall not possess a firearm, destructive device or other dangerous
           weapon. There shall be no firearms in the home where Defendant resides
25
26   (6)   Defendant shall report to the United States Probation Office before or
           immediately after release and shall report as often as they direct, at such
27         times and in such manner as they direct.
28



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 1   (7)   Defendant shall contact defense counsel at least once a week.

 2   (8)   Defendant is further advised, pursuant to 18 U.S.C. § 922(n), it is unlawful
 3         for any person who is under indictment for a crime punishable by
           imprisonment for a term exceeding one year, to possess, ship or transport in
 4         interstate or foreign commerce any firearm or ammunition or receive any
 5         firearm or ammunition which has been shipped or transported in interstate or
           foreign commerce.
 6
 7   (9)   Defendant shall refrain from the use or unlawful possession of a narcotic
 8         drug or other controlled substances defined in 21 U.S.C. § 802, unless
           prescribed by a licensed medical practitioner in conformance with Federal
 9         law. Defendant may not use or possess marijuana, regardless of whether
10         Defendant has been authorized medical marijuana under state law.
11   (10) Defendant shall surrender any passport to Pretrial Services and shall not
12        apply for a new passport.
13
                     ADDITIONAL CONDITIONS OF RELEASE
14
15   (14) Defendant shall remain in the Eastern District of Washington while the case
          is pending. By timely motion clearly stating whether opposing counsel and
16        Pretrial Services object to the request, Defendant may be permitted to travel
17        outside this geographical area.
18   (15) Avoid all contact, direct or indirect, with any persons who Defendant would
19        reasonably know are or may become a victim or potential witness in the
          subject investigation or prosecution. Pretrial Services may but is not
20
          required to exempt specific named individuals from this prohibition,
21        including but not limited to immediate family members or co-workers.
22
     (17) Participate in mental health counseling and treatment as directed by the
23        Pretrial Services Office. Prior to commencing any evaluation or treatment
24        program, Defendant shall provide waivers of confidentiality permitting the
          United States Probation Office and the treatment provider to exchange
25        without qualification, in any form and at any time, any and all information or
26        records or opinions related to Defendant’s conditions of release and
          supervision, and evaluation, treatment and performance. It shall be the
27
          responsibility of defense counsel to provide such waivers.
28



     ORDER - 3
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 1
     (27) Prohibited Substance Testing: If random urinalysis testing is not done
 2        through a treatment program, random urinalysis testing shall be
 3        conducted through Pretrial Services, and shall not exceed six (6) times
          per month. Defendant shall submit to any method of testing required by the
 4        Pretrial Service Office for determining whether the Defendant is using a
 5        prohibited substance. Such methods may be used with random frequency
          and include urine testing, the wearing of a sweat patch, a remote alcohol
 6
          testing system, and/or any form of prohibited substance screening or testing.
 7        Defendant shall refrain from obstructing or attempting to obstruct or tamper,
 8        in any fashion, with the efficiency and accuracy of prohibited substance
          testing.
 9
10          HOME CONFINEMENT/ELECTRONIC/GPS MONITORING
11   (28) Defendant shall participate in one or more of the following home
12        confinement program(s):
13
           Electronic Monitoring: The Defendant shall participate in a program of
14         electronically monitored home confinement. The Defendant shall wear, at
15         all times, an electronic monitoring device under the supervision of U.S.
           Probation. In the event the Defendant does not respond to electronic
16         monitoring or cannot be found, the U.S. Probation Office shall forthwith
17         notify the United States Marshals’ Service, who shall immediately find,
           arrest and detain the Defendant. The Defendant shall pay all or part of the
18         cost of the program based upon ability to pay as determined by the U.S.
19         Probation Office.
20
           OR
21
22         GPS Monitoring: The Defendant shall participate in a program of GPS
           confinement. The Defendant shall wear, at all times, a GPS device under the
23         supervision of U.S. Probation. In the event the Defendant does not respond
24         to GPS monitoring or cannot be found, the U.S. Probation Office shall
           forthwith notify the United States Marshals’ Service, who shall immediately
25         find, arrest and detain the Defendant. The Defendant shall pay all or part of
26         the cost of the program based upon ability to pay as determined by the U.S.
           Probation Office.
27
28   AND



     ORDER - 4
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 1
           Curfew: Defendant shall be restricted to his residence every day from 7:00
 2         p.m. to 7:00 a.m.
 3
     (31) Other: Defendant is not to access the internet in any form.
 4
 5   (32) Other: Take all medications as prescribed.
 6
           If a party desires that another Court review this order pursuant to 18 U.S.C.
 7
     § 3145, that party shall promptly file a motion for review before the district judge
 8
     to whom the case is assigned, as further described in the Detention Order Review
 9
     Protocol published for the Eastern District of Washington. Both parties shall
10
     cooperate to ensure that the motion is promptly determined.
11
           IT IS SO ORDERED.
12
           DATED April 15, 2019.
13
14
                                  _____________________________________
15                                          JOHN T. RODGERS
16                                 UNITED STATES MAGISTRATE JUDGE

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     ORDER - 5
